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           USCA11 Case: 19-10014 Date Filed: 06/14/2021 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

 David J. Smith                                                                     For rules and forms visit
 Clerk of Court                                                                     www.ca11.uscourts.gov


                                          June 14, 2021

 Clerk - Middle District of Florida
 U.S. District Court
 801 N FLORIDA AVE
 TAMPA, FL 33602-3849

 Appeal Number: 19-10014-DD
 Case Style: Erin Tonkyro, et al v. Secretary, Dept. of Veterans
 District Court Docket No: 8:16-cv-02419-CEH-AEP

 A copy of this letter, and the judgment form if noted above, but not a copy of the court's
 decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
 was previously forwarded to counsel and pro se parties on the date it was issued.

 The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
 was previously provided on the date of issuance.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Lois Tunstall
 Phone #: (404) 335-6191

 Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
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           USCA11 Case: 19-10014 Date Filed: 06/14/2021 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                                  For the Eleventh Circuit
                                      ______________

                                          No. 19-10014
                                         ______________

                                     District Court Docket No.
                                     8:16-cv-02419-CEH-AEP

 ERIN TONKYRO,
 DANA STRAUSER,
 KARA MITCHELL-DAVIS,
 YENNY HERNANDEZ,

                                                    Plaintiffs - Appellants,

 versus


 SECRETARY, DEPARTMENT OF VETERANS AFFAIRS,

                                              Defendant - Appellee.
                        __________________________________________

                        Appeal from the United States District Court for the
                                    Middle District of Florida
                        __________________________________________

                                           JUDGMENT

 It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
 entered as the judgment of this Court.

                                      Entered: April 20, 2021
                          For the Court: DAVID J. SMITH, Clerk of Court
                                          By: Jeff R. Patch




 ISSUED AS MANDATE 06/14/2021
